                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                                  :
Nikki Millsap,                                    :
                                                  :
                                                  : Civil Action No.: 5:11-cv-00071-RLV -DCK
                       Plaintiff,                 :
       v.                                         :
                                                  :
AmSher Collection Services, Inc.,                 :
                                                  :
                       Defendant.                 :
                                                  :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)


       Plaintiff, Nikki Millsap, by his attorney, hereby withdraws his complaint and voluntarily

dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A).


Dated: August 23, 2011

Respectfully submitted,
                                              By: _/s/ Stacy Watson

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                             Facsimile: (877) 795-3666




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 23, 2011, a true and correct copy of the foregoing Notice

of Dismissal was served electronically by the U.S. District Court for the Western District of

North Carolina Electronic Document Filing System (ECF) and that the document is available on

the ECF system.


                                             By_/s/ Stacie Watson____

                                                  Stacie Watson




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